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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                                Eastern Division

Scott Dolemba
                          Plaintiff,
v.                                              Case No.: 1:13−cv−07832
                                                Honorable Rebecca R. Pallmeyer
Adzzup, Inc.
                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 17, 2013:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Pursuant to Notice,
the above cause is dismissed without prejudice, with each party to bear its own costs.
Motion to certify class is stricken as moot. Status hearing set for 1/8/2014 is stricken.
Civil case terminated. Mailed notice(etv, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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